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United States Courts

Southern District of Texas
FILED
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS JUL 12 2024
HOUSTON DIVISION /
§ Nathan Ochsner, Clerk of Court,
GALLERIA WEST LOOP §
INVESTMENTS, LLC § CASE NO. 24-32143 (MI)
§
§ CHAPTER 7
§

CBJECTION TO APPOINTMENT OF CHAPTER 7 TRUSTEE

Jetall Companies, INC (‘“Jetall’’), as a creditor files this objection to the Appointment
RONALD J. SOMMERS as Chapter 7 Trustee ( Docket #81) and would show this court as
follows:

1. On June 26, 2024 this Court converted this case to Chapter 7 on its own motion after a

show cause hearing (ECF 79)

Di On June 27, 2024 US Trustee filed Notice of Appointment of Chapter 7 Trustee (ECF 81)
3. Creditor Jetall now timely files this objection to Appoint of Ronald J Sommers as Chapter

7 Trustee in this case.

4, Creditor Jetall has a past present and ongoing conflict with Mr. Summers that would not

qualify him as a disinterested person under the Bankruptcy Code.

Dated: July 12, 2024

Respectfully submitted,
Jetall Companies, Inc
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CERTIFICATE OF SERVICE

I certify that on July 12, 2024, I caused a copy of the foregoing document to be delivered to the
Electronic Case Filing System for the United States Bankruptcy Court for the Southern District of Texas.

/s/ Jetall Companies, Inc

